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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

     v.
                                                   Criminal Case No. 21-582 (CRC)
 MICHAEL A. SUSSMANN

                Defendant.


NON-PARTY PERKINS COIE LLP’S RESPONSE TO GOVERNMENT’S MOTION TO
        COMPEL THE PRODUCTION OF PURPORTED PRIVILEGED
     COMMUNICATIONS FOR IN CAMERA INSPECTION BY THE COURT

          Non-party Perkins Coie, LLP (“Perkins”) respectfully submits this response in connection

with the Government’s Motion to Compel the Production of Purported Privileged

Communications Withheld by Non-Party Entities for In Camera Inspection by the Court (“Motion

to Compel”).

          In response to Grand Jury Subpoenas served by the Government, Perkins made multiple

productions of responsive documents with accompanying privilege logs to the Government. In its

privilege logs, Perkins withheld and/or redacted documents and other communications based on

privilege claims asserted by its former clients, the Democratic National Committee (“DNC”),

Hillary for America Campaign Committee, Inc. (“HFACC”), and a technology executive referred

to in the Indictment as “Tech Executive-1.” Similarly, the entity referred to in the Indictment as

the “U.S. Investigative Firm” also withheld and/or redacted documents and communications based

on the asserted privilege claims of DNC and HFACC, and produced accompanying privilege logs.

While all communications listed in the Government’s Exhibit A to the Motion to Compel appear

on the privilege logs submitted by the U.S. Investigative Firm, three communications also appear
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on the privilege log provided by Perkins. Perkins also produced a redacted version of the retention

agreement with U.S. Investigative Firm.

       Perkins has an ethical obligation to assert all legitimate privilege claims made by clients in

response to subpoenas calling for clients’ confidential information. See D.C. Bar Legal Ethics

Comm., Op. 288 (1999) (“a lawyer has an ethical obligation to raise all available,

legitimate objections to a judicial or administrative subpoena for” a client’s confidential

information.); see also ABA Model Rule 1.6, cmt. 15 (“Absent informed consent of the client

to do otherwise, the lawyer should assert on behalf of the client all nonfrivolous claims that . . .

the information sought is protected against disclosure by the attorney-client privilege or other

applicable law.”). Perkins complied with this obligation in responding to the Government’s

Grand Jury Subpoenas and honored the claims of privilege made by its former clients. As

long as Perkins’ former clients instruct it to assert these privilege claims, Perkins will do so.

       To aid the Court in the instant motion, Perkins submits the attached Declaration of Patrick

Benedict to provide information related to the attorney-client privilege and work-product claims

asserted by DNC, HFACC, and Tech Executive-1.

                                          CONCLUSION

       For the foregoing reasons, Perkins joins in the arguments raised by Fusion GPS and

respectfully asks the Court to deny the Government’s motion to compel.



Dated: April 18, 2022                 By:     /s/ F. Joseph Warin

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                            Counsel for Non-Party Perkins Coie, LLP




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